                  UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

             Plaintiff,

      v.                                                         Case No. 18-CR-62

BRIAN L. GANOS,
MARK F. SPINDLER,
SONAG COMPANY, INC., and
NUVO CONSTRUCTION COMPANY, INC.,

             Defendants.



  ORDER DENYING DEFENDANT’S MOTION TO STRIKE JURY VENIRE
     AND REQUEST FOR EVIDENTIARY HEARING, ECF NO. 104



      In this criminal case, the government alleges that Brian L. Ganos conspired

with his solely owned corporation (Sonag Company, Inc.) and other individuals and

entities (including his outside accountant, Mark F. Spindler) to engage in a scheme

to obtain government set-aside contracts for which they were not entitled. See

Superseding Indictment, ECF No. 25. The matter is assigned to United States

District Judge Pamela Pepper for trial and to this Court for resolving pretrial

motions. See 28 U.S.C. § 636(b)(1). It has been declared complex, see Arraignment

and Plea Minutes, ECF No. 14, and trial is set for July 8, 2019, see Court Minutes

and Order, ECF No. 88.




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         On January 24, 2019, Sonag filed a motion to strike the entire jury venire in

the Eastern District of Wisconsin’s Milwaukee Division, arguing that the District’s

current jury plan systematically underrepresents minority groups. See Defendant’s

Motion to Strike Jury Venire and Request for Evidentiary Hearing, ECF No. 104.1

Sonag requests an evidentiary hearing on its Motion and has submitted an offer of

proof in support thereof, as well as affidavits from two potential expert witnesses,

see Kenneth Strasma Affidavit, ECF No. 105; Kenneth R. Mayer, Ph.D. Affidavit,

ECF No. 106. The government filed its opposition to the Motion on January 28,

2019. See United States’ Response, ECF No. 107. Judge Pepper has referred the

Motion to this Court for disposition. See 28 U.S.C. § 636(b)(1)(A).

         Because Sonag has failed to make out a prima facie case for challenging this

District’s jury-selection process, the Court will deny his Motion and his Request for

a hearing.

I.       Background

         In accordance with the Jury Selection and Service Act of 1968, 28 U.S.C.

§§ 1861–1878, the Eastern District of Wisconsin has devised and placed into

operation a written plan for random selection of grand and petit jurors. The

District’s Jury Plan was last revised and adopted in January 2017. See

https://www.wied.uscourts.gov/jury-plan-revised-january-2017 (last visited Mar. 12,

2019).



1   Mr. Ganos and Mr. Spindler have joined Sonag’s Motion. See Def.’s Mot. 15.

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      Pursuant to the Plan, the District has created a Master Jury Wheel for each

division within the district (i.e., the Milwaukee Division and the Green Bay

Division) using the voter records of each county within the district. Id. at 1–2.2 The

Plan requires that “[t]he number of names selected from each county should be

substantially in the same proportion to the total number selected from the division

as the number of voters in the division.” Id. at 2. That is, a county with 20% of the

division’s voters should supply approximately 20% of the names selected from the

entire division. The number of names initially deposited into the Master Jury Wheel

was 3,000 for the Green Bay Division and 10,000 for the Milwaukee Division. Id. at

3. According to the Plan, “[e]ach Master Jury Wheel will be emptied and refilled

every two years.” Id.

      At periodic intervals, names are randomly drawn from the Master Jury

Wheel “for the purpose of summoning persons to serve as grand or petit jurors.” Id.

The number of names drawn is determined by the Clerk of Court based on the

District’s needs. The District sends a Juror Qualification Summons/Questionnaire

to each person whose name is randomly drawn from the Master Jury Wheel.

Certain individuals, described in the Plan, may be disqualified, excused, or exempt

from jury service. See id. at 3–4. “The names of all persons who are periodically


2The Milwaukee Division consists of: Dodge, Fond du Lac, Green Lake,
Kenosha, Marquette, Milwaukee, Ozaukee, Racine, Sheboygan, Walworth,
Washington, and Waukesha counties.

The Green Bay Division consists of: Brown, Calumet, Door, Florence, Forest,
Kewaunee, Langlade, Manitowoc, Marinette, Menominee, Oconto, Outagamie,
Shawano, Waupaca, Waushara, and Winnebago counties.

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drawn from the respective Master Jury Wheel, who are not disqualified, exempt, or

excused pursuant to this plan, will be placed in the appropriate division’s qualified

jury pool.” Id. at 5. Petit jurors and grand jurors are randomly selected, when

needed, from the appropriate Qualified Jury Pool. Id. 5–6.

II.   Discussion

      Sonag argues that the Eastern District of Wisconsin’s 2017 Jury Plan results

in a Master Jury Wheel and Qualified Jury Pool that systematically

underrepresents minority groups in violation of the Fifth and Sixth Amendments to

the United States Constitution and the Jury Selection and Service Act of 1968. See

Def.’s Mot. p. 1. The company requests that the Court enter an order striking the

entire jury venire in the Milwaukee Division and stay the jury trial in this matter

until an adequately represented Master Jury Wheel and Qualified Jury Pool are

assembled. See id. p. 14.

      A. Fair cross-section claim

      Under the Sixth Amendment, a defendant in a criminal prosecution has the

right to be tried “by an impartial jury of the State and district wherein the crime

shall have been committed.” U.S. Const. amend. VI. The Supreme Court has

construed this constitutional provision to require that “the venire of petit jurors be

chosen from a fair cross-section of the community.” United States v. Raszkiewicz,

169 F.3d 459, 462 (7th Cir. 1999) (citing Taylor v. Louisiana, 419 U.S. 522, 530

(1975)). “The jury must be chosen from a source which is representative of the

community, but the Constitution does not require this to ensure representative

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juries, but rather impartial juries.” Raszkiewicz, 169 F.3d at 462 (citing United

States v. Ashley, 54 F.3d 311, 313 (7th Cir. 1995)). Accordingly, “there is no

requirement that a venire or a jury mirror the general population.” Raszkiewicz,

169 F.3d at 462 (citing United States v. Duff, 76 F.3d 122, 124 (7th Cir. 1996)).

Likewise, “[d]efendants are not entitled to a jury of any particular composition, . . .

so long as there is a fair process which generates an impartial jury.” Raszkiewicz,

169 F.3d at 462.

      In Duren v. Missouri, the Supreme Court established the framework for

addressing a fair cross-section challenge:

      In order to establish a prima facie violation of the fair-cross-section
      requirement, the defendant must show (1) that the group alleged to be
      excluded is a “distinctive” group in the community; (2) that the
      representation of this group in venires from which juries are selected is
      not fair and reasonable in relation to the number of such persons in the
      community; and (3) that this underrepresentation is due to systematic
      exclusion of the group in the jury-selection process.

439 U.S. 357, 364 (1979). “If the defendant establishes these elements, the

government must show that those aspects of the jury selection process which result

in the disproportionate exclusion of a distinctive group manifestly advance an

overriding, significant government interest.” Raszkiewicz, 169 F.3d at 463 (citing

Ashley, 54 F.3d at 313).3




3A fair cross-section claim under the Jury Selection and Service Act is analyzed the
same as a Sixth Amendment fair cross-section claim. See Raszkiewicz, 169 F.3d at
462 n.1 (citing United States v. Allen, 160 F.3d 1096, 1102 (6th Cir. 1998); United
States v. Sanchez, 156 F.3d 875, 879 & n.3 (8th Cir. 1998)).
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             1. Distinctive group

      “Whether or not a class of persons is a sufficiently distinctive group to be

cognizable for jury representativeness purposes is a question of fact.” Raszkiewicz,

169 F.3d at 463. To show that a group is distinctive under the first prong of the

Duren test, the defendant must establish

      (1) that the group is defined and limited by some factor ([e.g.], that the
      group has a definite composition such as by race or sex); (2) that a
      common thread or basic similarity in attitude, ideas, or experience
      runs through the group; and (3) that there is a community of interests
      among members of the group such that the group’s interest cannot be
      adequately represented if the group is excluded from the jury selection
      process.

Id. (quoting Willis v. Zant, 720 F.2d 1212, 1216 (11th Cir. 1983)). “The test is not to

be applied mechanically but must be used with common sense in light of the main

purpose of the fair cross-section requirement, viz. to provide an impartial jury.”

Raszkiewicz, 169 F.3d at 463 (citing Ashley, 54 F.3d at 313).

      Here, Sonag first maintains that the District’s current Jury Plan

underrepresents four separate groups: voting-age citizens of African descent, voting-

age citizens of Hispanic descent, voting-age citizens of Asian or Pacific Island

descent, and voting-age Native American citizens. See Def.’s Mot. p. 1, ¶ 17.

Individually, each of these four groups may constitute cognizable distinctive groups

under Duren. See, e.g., Ashley, 54 F.3d at 313 (“Certainly, blacks constitute the sort

of group contemplated by the ‘distinctive member of the community’ part of the

Duren test.”). But Sonag has not provided statistical evidence showing that any of




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these groups are underrepresented in the Master Jury Wheel or the Qualified Jury

Pool. See Def.’s Mot. ¶¶ 4–11.4

      Sonag also maintains that together, those groups “are one distinctive and

cognizable group in the community: . . . ‘minorities’ or ‘people of color.’” Def.’s Mot.

¶ 17. In fact, this appears to be Sonag’s principal argument, as its offer of proof

focuses exclusively on voting-age minorities in the aggregate. See Mayer Aff. ¶ 3

(applying statistical analysis to “voting-age citizens of the Milwaukee Division who

are members of racial minority groups or Hispanic”). Sonag has not, however,

provided any authority for its argument that “minorities” or “people of color” should

be recognized as a single group for purposes of the fair cross-section requirement.

Courts that have considered this argument have consistently rejected it. See Prince

v. Parke, 907 F. Supp. 1243, 1247 (N.D. Ind. 1995) (“This court does not understand

the requirement of a distinctive group under Duren to allow various groups to be

‘lumped’ together into one distinctive group called ‘minorities.’”); United States v.

Luong, 255 F. Supp. 2d 1123, 1127 (E.D. Cal. 2003) (“[T]he Ninth Circuit has

rejected the theory that all non-white groups can be combined to form a single

‘distinctive’ group for the purpose of a jury selection challenge.”); United States v.

Purdy, 946 F. Supp. 1094, 1100 (D. Ct. 1996) (declining to combine Blacks and


4 Sonag did present some data about African Americans and Hispanics. See Def.’s
Mot. ¶¶ 6–7. However, this statistical evidence is inconsequential as it is limited to
Milwaukee County and does not account for citizenship or voting status. See United
States v. Alanis, 265 F.3d 576, 583–84 (7th Cir. 2001) (affirming the denial of a post-
trial fair cross-section claim where the defendant failed to present statistical
evidence about the community from which the venire was drawn and instead
focused solely on the county in which the district court was located).
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Hispanics into a single group); Ahmed v. Houk, Case No. 2:07-cv-658, 2014 U.S.

Dist. LEXIS 81971, at *308 (S.D. Ohio June 16, 2014) (“‘Non-whites’ has never been

recognized as a ‘distinctive group’ in the community.”).

      Sonag not only lacks caselaw support, it has also failed to offer any “defining

qualities” of minorities or people of color as a whole that would support their

recognition by the population at large as a distinctive group in the community. See

Raszkiewicz, 169 F.3d at 463–67 (rejecting fair cross-section claim because

defendant failed to establish that “reservation Indians” were a distinctive part of

the community). Accordingly, the company has not carried its burden on the first

prong of the Duren test.

             2. Underrepresentation

      “The second element of the Duren test requires the defendant to show that

the representation of the distinctive group on venires from which jury panels are

selected is not fair and reasonable in relation to the number of such persons in the

community.” Prince, 907 F. Supp. at 1248 (citing Duren, 439 U.S. at 364). To meet

this requirement, Sonag has presented the expert opinion of Kenneth R. Mayer, a

political science professor at the University of Wisconsin, Madison. Professor Mayer

opines, “to a reasonable degree of certainty in the field of quantitative political

science,” that since the year 2017, minorities have been underrepresented by 7.3%

(17.6% expected representation – 10.3% of empaneled jurors) or 8.4% (17.6%




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expected representation – 9.2% of those selected from voter lists5). Mayer Aff. ¶¶ 3,

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      This statistical evidence is insufficient to satisfy Sonag’s burden under the

second prong of the Duren test. First, Professor Mayer’s analysis compounds the

flaw in Sonag’s argument concerning the first Duren prong. He compares the

expected percentage of minority representation on jury panels in the Milwaukee

Division to the percentage of empaneled minorities and the percentage of minorities

selected from the voter lists. But as explained above, minorities do not constitute a

distinctive group under the Duren test. Thus, the absolute disparities6 Professor

Mayer has calculated are essentially meaningless to Sonag’s fair cross-section

claim—unsound inputs lead invariably to unsound conclusions.

      Second, under Seventh Circuit law, an absolute disparity of 7.3% or 8.4%

“alone is not enough to demonstrate unfair or unreasonable representation.” See

United States v. Phillips, 239 F.3d 829, 842 (7th Cir. 2001) (quoting Ashley, 54 F.3d

at 315 (requiring a discrepancy of at least 10%)). Most other courts agree that such

low disparities are not evidence of unconstitutional underrepresentation. See

Prince, 907 F. Supp. at 1248–50 (discussing cases).


5It’s unclear whether he is referring to the Master Jury Wheel or the Qualified Jury
Pool.

6 “Absolute disparity is defined as the difference between a group’s representation
in the population and its representation in the relevant jury pool.” United States v.
Rioux, 930 F. Supp. 1558, 1569 (D. Conn. 1995) (citing Peter A. Detre, Note, A
Proposal for Measuring Underrepresentation in the Composition of the Jury Wheel,
103 Yale L.J. 1913, 1917 (1994)).

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      According to Sonag, the above disparities reflect the most conservative

estimates of underrepresentation because they “assume that any person whose

racial or Hispanic identity is uncertain is in fact a member of a minority group, not

a non-Hispanic white.” Def.’s Mot. ¶ 10(d). “When that assumption is removed . . . ,

the under-representation of all citizen, voting-age minorities rises to about 9.74%.”

Id. Maybe so. But this 9.74% figure is unsupported argument, as it does not appear

in Professor Mayer’s affidavit. See Mayer Aff. ¶¶ 7–8 (acknowledging reliance on the

conservative geocoding and surname analysis). Moreover, although much closer to

the threshold, that figure is still less than the 10% absolute disparity required by

the Seventh Circuit. See Ashley, 54 F.3d at 313; see also United States v. Butler, 611

F.2d 1066, 1069–70 & n.9 (5th Cir. 1980) (finding 9.14% absolute disparity to be

insufficient under Duren’s second prong because it was less than 10%).

      Sonag argues that the Seventh Circuit’s reliance on the absolute disparity

test for analyzing fair cross-section claims is suspect in light of recent Supreme

Court precedent. See Def.’s Mot. ¶ 18. Not so. In Berghuis v. Smith—a federal

habeas action under 28 U.S.C. § 2254—the respondent asked the Supreme Court “to

‘adopt the absolute-disparity standard for measuring fair and reasonable

representation’ and to ‘requir[e] proof that the absolute disparity exceeds 10%’ to

make out a prima facie fair-cross-section violation.” 559 U.S. 314, 330 n.4 (2010).

The Court refused, explaining that “neither Duren nor any other decision of [that]

Court specifies the method or test courts must use to measure the representation of

distinctive groups in jury pools.” Berghuis, 559 U.S. at 329. The Court also listed

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three methods used by lower courts—absolute disparity, comparative disparity, and

standard deviation—noting that “[e]ach test is imperfect.” Id. Ultimately, the Court

determined that it did not need “to take sides . . . on the method or methods by

which underrepresentation is appropriately measured” because the underlying

state-court decision at issue focused on the third prong of the Duren test. See id. at

329–30.

      Because the Supreme Court in Berghuis did not need to reach the issue,

lower courts remain free to choose the appropriate methodology for analyzing the

second prong of fair cross-section claims. Sonag cites several Seventh Circuit

decisions issued since Berghuis to suggest that “[c]ourts likely no longer can use

absolute disparity as the sole measure of the second Duren factor.” Def.’s Mot. ¶ 18

(collecting cases). Significantly, the second Duren prong was not at issue in any of

those cases. Ashley therefore is still good law unless and until the Seventh Circuit

or the Supreme Court expressly says otherwise.

       Furthermore, Sonag has not presented any statistical evidence derived from

an alternative methodology. The company indicates that, if granted a hearing,

Professor Mayer “will present evidence on the comparative disparity and standard

deviation methods.” Def.’s Mot. ¶ 10(e). A promise of future evidence is not

sufficient to establish a prima facie case.

             3. Systematic exclusion

       Under the third Duren prong, the defendant must demonstrate that the

alleged underrepresentation is “due to systematic exclusion of the group in the jury-

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selection process.” United States v. Willis, 868 F.3d 549, 555 (7th Cir. 2017) (citing

Alanis, 265 F.3d at 583). “Duren defined ‘systematic’ as ‘inherent in the particular

jury-selection process utilized.’” Ashley, 54 F.3d at 314 (quoting Duren, 439 U.S. at

366).

        Sonag’s main complaint is that the District’s reliance solely on actual voters

systematically excludes minorities from the jury-selection process. See Def.’s Mot.

¶¶ 1–2. According to Sonag, the underrepresentation of minorities is exacerbated by

apportioning the Master Jury Wheel by county voter turnout (which causes

overrepresentation of jurors from counties with high voter turnout percentages,

which in turn are heavily white, affluent counties); an opt-out provision for single

parents; and the number of contacts required with government employees. See id.

¶¶ 2–3. Sonag also points to Wisconsin’s recently enacted voter identification law,

2011 Wisconsin Act 23—which has been criticized for suppressing poor and

minority voter turnout—as another factor that contributes to the racial and ethnic

disparities resulting from using actual voters. See id. ¶ 16.

        Nevertheless, the Jury Selection and Service Act explicitly endorses the use

of actual voter lists as a primary source of names of prospective jurors. See 28

U.S.C. § 1863(b)(2). Likewise, the Seventh Circuit and other courts have

consistently held that using such lists does not violate Duren’s third prong. See

U.S.’s Resp. 6–7 (collecting cases).

        Sonag has, however, made interesting points concerning the apportionment

of jurors by voter turnout and the effects of the state’s voter ID law. The

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combination of those factors may, in a future case, be sufficient to satisfy Duren’s

third prong. Given Sonag’s failure to meet its burden on the first two prongs of the

Duren test, the Court does not need to decide if those factors are sufficient here.

Accordingly, the Court finds that Sonag has failed to establish a prima facie

violation of the fair cross-section requirement and will therefore order denial of this

claim.

         B. Equal-protection claim

         “Purposeful racial discrimination in selection of the venire violates a

defendant’s right to equal protection.” Batson v. Kentucky, 476 U.S. 79, 86 (1986).

To establish a prima facie case that a jury-selection process violates the equal-

protection clause, a defendant must show (1) that he belongs to a group “that is a

recognizable, distinct class, singled out for different treatment under the laws”;

(2) that there has been “substantial underrepresentation” of that group “over a

significant period of time”; and (3) discriminatory intent. Castaneda v. Partida, 430

U.S. 482, 494 (1977); see also Prince, 907 F. Supp. at 1252–53.

         “Although the elements of a prima facie case for an equal protection claim in

the context of jury selection resemble those of a fair cross-section claim under

Duren,” the two claims serve different purposes. See Prince, 907 F. Supp. at 1252

(citing Duren, 439 U.S. at 368 n.26; United States v. Grisham, 63 F.3d 1074, 1081

(11th Cir. 1995)). “[W]hereas the inquiry in a fair cross-section claim focuses on the

representativeness of the jury venire, the focus of an equal protection claim is

whether members of a discrete group have been intentionally denied the

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opportunity to serve on a jury.” Prince, 907 F. Supp. at 1253 (quoting Grisham, 63

F.3d at 1081).

      For all intents and purposes, the first two prongs of an equal-protection claim

concerning the jury-selection process mirror the first two prongs of a fair cross-

section claim. See Duren, 439 U.S. at 370–72 (Rehnquist, J., dissenting); see also

Rioux, 930 F. Supp. at 1582 (noting that the Castaneda equal-protection test “is

very similar to the Duren test”). For the reasons discussed above, the Court finds

that Sonag has not met its burden of demonstrating that the company belongs to a

distinct group or that there has been substantial underrepresentation of that

particular group over a significant period of period. As such, Sonag’s equal-

protection claim must also fail.

      To show discriminatory intent under the third prong, Sonag contrasts the

District’s current Jury Plan with the plan in place from January 2009 to February

2017. According to Sonag, the previous jury plan used registered voters as the

source list from which to draw potential jurors from Milwaukee County—the

District’s largest and most diverse county—and actual voters for the other eleven

counties. Def.’s Mot. ¶ 12. The previous plan, as described by Sonag, also explicitly

authorized the Clerk to draw additional names for the Master Jury Wheel “from the

voter records of election districts known to contain greater numbers of racial

minorities than the general population.” Id. The current Plan uses actual voters for

all counties and does not, in Sonag’s view, permit such “oversampling.” Sonag




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maintains that discriminatory intent can be inferred from those changes. See Def.’s

Mot. ¶¶ 12–24.

       Again, Sonag raises some interesting points about the District’s current Jury

Plan. Perhaps it could be better. But it is ultimately unpersuasive to argue that the

District’s use of actual voter lists, which is a permissible approach, evinces

discriminatory intent. Regardless, the Court need not reach this issue due to

Sonag’s failure to meet the first two prongs of the Castaneda test.

III.   Conclusion

       For all the foregoing reasons, the Court will deny Sonag’s Motion to Strike

Jury Venire and Request for Evidentiary Hearing.

       NOW, THEREFORE, IT IS HEREBY ORDERED that Defendant’s Motion

to Strike Jury Venire and Request for Evidentiary Hearing, ECF No. 104, is

DENIED.

       Your attention is directed to 28 U.S.C. ' 636(b)(1)(A), Fed. R. Crim. P. 59(a),

and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any order herein, or

part thereof, may be filed within fourteen days of service of this Order. Objections

are to be filed in accordance with the Eastern District of Wisconsin’s electronic case

filing procedures. Failure to file a timely objection with Judge Pepper shall result in

a waiver of a party’s right to appeal. If no response or reply will be filed, please

notify Judge Pepper in writing.




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Dated at Milwaukee, Wisconsin, this 12th day of March, 2019.

                                      BY THE COURT:


                                      s/ David E. Jones
                                      DAVID E. JONES
                                      United States Magistrate Judge




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